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James Garretson (00:00):
[inaudible 00:00:00]

Unidentified Male (00:03):
What's up, boss?

James Garretson (00:05):
What's up?

Unidentified Male (00:06):
Heading back home.

James Garretson (00:07):
You're where?

Unidentified Male (00:09):
Heading back home.

James Garretson (00:10):
Sucking some penis?

Unidentified Male (00:11):
What?

James Garretson (00:12):
Sucking some penis?

Unidentified Male (00:14):
Like your mom.

James Garretson (00:15):
She probably is. She's got to make money, too.

Unidentified Male (00:19):
Knowing your business, you've got everybody out dude. What the fuck, dude.

Unidentified Male (00:25):
Just in South Carolina, heading home.

James Garretson (00:29):
You seen the fag? You got all guilty and you're going to do life.

Unidentified Male (00:33):

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Yeah, did you know that guy?

James Garretson (00:35):
Yeah, I put him away, dickhead.

Unidentified Male (00:36):
Oh, okay. He's a... [crosstalk 00:00:39] fucking...

James Garretson (00:42):
I wrapped him up like a cheap fucking Walmart suitcase.

Unidentified Male (00:48):
Dude, he must have pissed you off seriously, dude.

James Garretson (00:51):
Yeah, he was fucking shooting tigers in the ears.

Unidentified Male (00:52):
What?

James Garretson (00:55):
Just shooting healthy tigers and parting them out stuff and I caught wind of it.

Unidentified Male (01:04):
Dang. So, how did you freaking set him up, dude?

James Garretson (01:04):
I set him up by infiltrating his fucking camp right when he was bragging about killing all the tigers and
selling their parts.

Unidentified Male (01:10):
Mm-hmm (affirmative).

James Garretson (01:11):
I called my guy, US Fishing and Wildlife, and he's like, "You want to go undercover?" I was like, "Yeah, I'll
do it."

Unidentified Male (01:16):
Did they pay you?

James Garretson (01:17):
No, they didn't pay me. They...



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Unidentified Male (01:18):
That's all right.

James Garretson (01:19):
They made compensations.

Unidentified Male (01:21):
Yeah.

James Garretson (01:22):
There are certain group agencies that leave me alone now.

Unidentified Male (01:25):
Do they really?

James Garretson (01:27):
Yeah.

Unidentified Male (01:27):
[crosstalk 00:01:27]

James Garretson (01:29):
Huh?

Unidentified Male (01:29):
Who leaves you alone now?

James Garretson (01:30):
Oh, like USDA and all them people.

Unidentified Male (01:32):
They don't bug you no more?

James Garretson (01:32):
No, they don't bug me at all.

Unidentified Male (01:32):
Damn, dude. Where are you?

James Garretson (01:38):
I'm in Oklahoma. I'm fixing to head to Florida here in a couple hours.

Unidentified Male (01:39):

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Damn, nice, dude.

James Garretson (01:41):
Yeah, so I just... he was the one that whacked the old stupid bitch down there so I introduced him to a
hitman.

Unidentified Male (01:51):
You're the best, dude. He thought it was a fucking hitman and then he introduced him to the fucking FBI.
Oh, the hitman was the FBI.

James Garretson (02:02):
Yeah, he was the FBI. He was an undercover FBI agent.

Unidentified Male (02:05):
Oh, that's how this... well, the story I got is she paid a hitman 3,000 bucks. That must have been you.
You had something to do with that.

James Garretson (02:14):
No, no. The first county paid one of his park employees...

Unidentified Male (02:19):
Oh, okay.

James Garretson (02:19):
Three grand to go down there and kill him.

Unidentified Male (02:20):
Right.

James Garretson (02:21):
Well, he fucked up with the money and went and bought a bunch of cocaine and rented a hotel room
and he never did it.

Unidentified Male (02:27):
Right.

James Garretson (02:28):
So, he came to me and he asked me if I knew a hitman. I was like, "Yeah. Yeah, I know a hitman. But, I
got to bring him back. He's down in Florida right now, but I'll bring him here in a couple of weeks."

Unidentified Male (02:38):
Right.



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James Garretson (02:39):
Picked this guy up at the airport and he was an FBI agent from Washington, DC.

Unidentified Male (02:48):
Dang, that's the fucking best, dude. That's fucking smooth.

James Garretson (02:51):
And then I took him up there and introduced him and they really had the FBI truck out front video taping
it all. And...

Unidentified Male (02:57):
Yeah he...

James Garretson (03:01):
And then I had a... I said, "Yeah, this guy will fucking kill the bitch." And then yeah it's hard to read a
fucking FBI agent on the stand with a recording saying you want her chopped up in pieces.

Unidentified Male (03:11):
Well, do you know what his dispute was, dude? He said that he knew he was being setup, so he was just
playing along to get information.

James Garretson (03:22):
Yeah.

Unidentified Male (03:22):
What a fucking queer, dude.

James Garretson (03:22):
He wouldn't have said those things on tape if he was playing along what he said.

Unidentified Male (03:26):
Dang. So, what do you have going on with your [crosstalk 00:03:28]...

James Garretson (03:29):
No clue, but he's going to do life. He's going to be getting a lot of cock where he's at.

Unidentified Male (03:33):
He's got two life sentences.

James Garretson (03:35):
Well, he's going to do 80... they said with all counts he could do 80 years.

Unidentified Male (03:39):


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Damn. But, he's looking at some serious time. He's going to die in prison.

James Garretson (03:45):
Oh, he's going to die in prison. And he's still on Facebook talking shit. I'm like, "Dude."

Unidentified Male (03:50):
How can he talk shit? Isn't he in jail now?

James Garretson (03:52):
Yeah, he's calling somebody and they're putting it on Facebook.

James Garretson (03:56):
It's probably because those people that are putting shit on Facebook, they're all under investigation
right now.

Unidentified Male (04:10):
Oh. Hey, I've got a question, dude.

James Garretson (04:12):
Yeah.

Unidentified Male (04:12):
What's with the fucking flag police in [inaudible 00:04:12]?

James Garretson (04:12):
Oh, fuck them. I'm just fucking with them.

Unidentified Male (04:15):
Oh, you still got your store going?

James Garretson (04:16):
Yeah, they wrote me a ticket for having flags and then they wrote me a ticket for my car being parked
out front. I just sued them.

Unidentified Male (04:23):
Dude, there's a place in Ruskin that's like an old Kmart.

James Garretson (04:27):
Yeah.

Unidentified Male (04:27):
It's been sitting there for years. Dude, that would be the perfect place to set up a liquidation place.
Seriously.


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James Garretson (04:34):
Is it cheap?

Unidentified Male (04:38):
You could probably negotiate and get it cheap. The whole thing about Ruskin and Tampa is it's all retired
people, dude.

James Garretson (04:44):
Really? People with money?

Unidentified Male (04:46):
Oh yeah, they have money.

James Garretson (04:48):
Oh.

Unidentified Male (04:48):
You should check into that, dude.

James Garretson (04:57):
Yeah, I might go. Send me the address and I'll go to it because I'm going to... I think I'm going to drive
down to the Keys. I think I'm going to leave in a few hours.

Unidentified Male (05:00):
Yeah, I got some people staying in a house right now, but they're going to be gone on the 18th. I mean
the 13th. We should meet up there...

James Garretson (05:05):
What are you doing, renting it out?

Unidentified Male (05:06):
It used to be a manager I worked with, he did some repair stuff to the house and then I made a deal with
him.

James Garretson (05:13):
You all keeping that house?

Unidentified Male (05:15):
Yeah, we're keeping it.

James Garretson (05:16):
Why don't you all move down there and get out of Texas?



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Unidentified Male (05:18):
Oh, we are.

James Garretson (05:19):
Fuck Texas.

Unidentified Male (05:20):
As soon as Punkin graduates college next year, we're going to finish up our house and we're going to
move.

James Garretson (05:25):
Wait, Texas is turning into a fucking liberal state.

Unidentified Male (05:29):
Yeah, I'm just... there's nothing in Texas. I mean, I can cash my freaking house up for 750 grand, dude.
We can fucking go down to Florida and pay fucking 600 dollars a month for my fucking electric bill and
my freaking internet and that's all I have to pay.

James Garretson (05:45):
Yeah, I want to buy a hotel in the Keys.

Unidentified Male (05:49):
Are they pretty cheap?

James Garretson (05:50):
No, super expensive but I want to buy a fucking hotel in the Keys.

Unidentified Male (05:55):
Does it make money?

James Garretson (05:56):
Oh, yeah. I'd own a hotel or a big fucking bar, restaurant, hotel.

Unidentified Male (06:00):
You can hide money.

James Garretson (06:04):
Oh, man. You can just sit down there and fucking retire and just run your hotel. That's what I'm going to
do.

Unidentified Male (06:09):
Hey, you still got the jet skis going?



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James Garretson (06:12):
Yeah. I got to haul four more down there today.

Unidentified Male (06:14):
Damn, dude. I need to take mine down there.

James Garretson (06:16):
Yeah. Have they ever been in salt water?

Unidentified Male (06:20):
No.

James Garretson (06:21):
Yeah, you don't want to put them in salt water if they've never been in there.

Unidentified Male (06:25):
They'll fuck a [inaudible 00:06:26] like fucking hell, dude.

James Garretson (06:26):
Yeah, that salts bad on them.

Unidentified Male (06:29):
Are they?

James Garretson (06:31):
Yeah, unless you wash the fucking piss out of them.

Unidentified Male (06:33):
You can flush them can't you?

James Garretson (06:37):
Yeah, you flush them and then you got to wash all the motor compartments and stuff with fresh water
just so that rust doesn't get on all the parts.

Unidentified Male (06:43):
Oh, wow, dude. That bad?

James Garretson (06:45):
Where are you at right now?

Unidentified Male (06:47):
Greenville, South Carolina.



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James Garretson (06:49):
What are you doing over there?

Unidentified Male (06:51):
Getting some programming for Charter. Inspect them.

James Garretson (06:52):
When are you going to Florida next?

Unidentified Male (06:59):
I can go anytime. Well, after the 18th, I mean the 13th of April my house is empty any time.

James Garretson (07:03):
Yeah, man, I'd be selling my fucking Texas house and getting the fuck out.

Unidentified Male (07:07):
Yeah, I just got to wait for Punkin to... I want her to graduate and that's it.

James Garretson (07:11):
When does she get her medical degree?

Unidentified Male (07:14):
She'll have her medical degree in about five or seven years.

James Garretson (07:18):
Oh, gotcha. So, where is she going to after she graduates? To another school?

Unidentified Male (07:23):
Well, she'll have to go into... she's going in the military to study her medicine in the military.

James Garretson (07:29):
In the military?

Unidentified Male (07:29):
Yeah.

James Garretson (07:29):
Ew.

Unidentified Male (07:33):
Yeah, because they pay for it all.

James Garretson (07:34):

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Oh, really?

Unidentified Male (07:36):
And then Trump has this program out that it was geared toward people with student loans and she just
goes in the military for... I think it's two or four years. We get all our money back when she enlists.

James Garretson (07:51):
Really?

Unidentified Male (07:51):
To college. Yeah.

James Garretson (07:53):
Is she into that fucking idiot Bento or whatever his name is?

Unidentified Male (07:57):
Fucking Beavis.

James Garretson (07:59):
Fucking dumb ass.

Unidentified Male (08:01):
Yeah.

James Garretson (08:01):
That guys a fucking dumb ass.

Unidentified Male (08:04):
I laugh at that motherfucker all the time. You need to jump on my fucking Facebook posts by Keith Kelly,
dude. He's a black dude from North Carolina. We just [crosstalk 00:08:11].

James Garretson (08:12):
I was supposed to stay offline and shit.

Unidentified Male (08:15):
How come?

James Garretson (08:18):
Oh, til all the Fed shit was over with.

Unidentified Male (08:22):
Oh, really?



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James Garretson (08:22):
Yeah, they didn't want me to... I wasn't supposed to talk politics or any of that shit because they'd try to
punch holes in my stories and shit.

Unidentified Male (08:28):
Is it okay now?

James Garretson (08:28):
Oh, yeah. I'm good now. I'm 100 percent, because I went to trial. After the trial was up, I was done.

Unidentified Male (08:34):
Dude, you need to run for office or congress or something, dude. It would be funny having you in fucking
office, dude.

James Garretson (08:37):
I ought to go to Florid if I do it. Run for office in Florida.

Unidentified Male (08:43):
Dude, go to Wyoming and do it.

James Garretson (08:44):
Why?

Unidentified Male (08:46):
There's only 500,000 people that live there.

James Garretson (08:48):
No, yeah, I don't want to. It's too cold there.

Unidentified Male (08:51):
Oh, it's all right, dude. Just get a little fucking ranch going.

James Garretson (08:54):
No, I want to go to Florida. I want to stay in south Florida. Fuck this goddamn Texas and Oklahoma shit.

Unidentified Male (09:02):
Yeah, I'm not too impressed with Texas no more.

James Garretson (09:04):
No, because all the liberals are taking over, dude.

Unidentified Male (09:08):
I got a new freaking generator on my camper, dude.

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James Garretson (09:10):
Oh, you did?

Unidentified Male (09:12):
Yeah, he gave it to me out of a Raptor.

James Garretson (09:16):
You take the camper to South Carolina, you got your camper with you now?

Unidentified Male (09:19):
No, I fly. They flew me here.

James Garretson (09:23):
Shit, yeah. Holler at me when you get back. Come down to Florida. I'm going to be down there...

Unidentified Male (09:26):
I want to. Let's get together, dude.

James Garretson (09:29):
Yeah, I'll be down there...

Unidentified Male (09:30):
We'll go to Florida, then we'll go to Tampa, dude. We'll go to the Keys and then we'll go to Tampa. You
stay at my place in Tampa, dude. We'll make a note.

James Garretson (09:35):
Yeah, I'll be down there all month. I'm going to be staying in Florida for four months.

Unidentified Male (09:39):
Well, dude, come on over.

James Garretson (09:41):
Cool. Let me know when you get out there, man.

Unidentified Male (09:43):
All right, bro.




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